      Case 2:13-cr-00084-TLN Document 282 Filed 01/08/19 Page 1 of 2


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4                                UNITED STATES DISTRICT COURT

5                               EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                      No. 2:13-cr-00084-GEB
8                     Plaintiff,
9           v.                                      ORDER DENYING REQUEST TO CHANGE
                                                    DATE ON WHICH DEFENDANT
10   ANITA SHARMA,                                  COMMENCES SERVING HER PRISON
                                                    SENTENCE
11                    Defendant.
12

13               On    January         7,   2019,   Defendant       Anita    Sharma        filed     a

14   request to extend her prison surrender date from January 9, 2019,

15   to March 11, 2019.                Def.’s Request, ECF No. 278.                   The United

16   States filed an opposition to the request, arguing, inter alia:

17   “the   document       is    not    fashioned       as    a   motion,    is      not    noticed

18   according    to       the    local      rules,      and      comes   two     days       before

19   [defendant       is    to    self-surrender, . . .              [and]      if    the        Court

20   interprets this “Request” as a motion, the United States opposes

21   it.”    Gov’t’s Opp’n at 1:17–22, ECF No. 280. The United States

22   further contends: “According to the judgment, the defendant is

23   required to begin her term of imprisonment on January 9, 2019.

24   Docket No. 267 . . . .             The United States opposes the defendant’s

25   request to alter her self-surrender date because there is no

26   jurisdiction          to    alter      the     judgment’s        provision            for     the

27   commencement date of imprisonment.”                     Id. at 1:24–27.

28   ///
                                                    1
      Case 2:13-cr-00084-TLN Document 282 Filed 01/08/19 Page 2 of 2


1              Defendant’s request is denied because defendant has not

2    shown that the district court has jurisdiction to consider it.

3              Dated:    January 8, 2019

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